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                                        September 27, 2021

VIA ECF
Hon. James Donato
United States District Judge
U.S. District Court, Northern District of California, Courtroom 11
450 Golden Gate Avenue
San Francisco, CA 94102

Re:    Gor Gevorkyan v. Bitmain, Inc., et al., N.D. Cal. Case No. 3:18-cv-07004-JD

Dear Judge Donato,
Plaintiff Gor Gevorkyan (“Plaintiff”) respectfully submits this response and opposition to
Defendant Bitmain Technologies, Ltd.’s (“Bitmain HK’s”) September 23, 2021, letter seeking to
vacate the Order directing the Parties to file supplemental briefing on Bitmain HK’s motion to
dismiss for lack of personal jurisdiction. Neither Bitmain HK nor any nonparty will be
prejudiced by adhering to the Court’s schedule.
Briefing on Bitmain HK’s motion should proceed on the current schedule now that jurisdictional
discovery was completed earlier this month. Bitmain HK’s motion to dismiss has been pending
since 2019 and there is no need for further delay. As this Court has noted, “there is certainly a lot
in the record about Bitmain [HK].” See Exhibit 1, 12/19/19 Hearing Tr. at 2:17-18. As a result of
conducting jurisdictional discovery, there is now even more evidence of Bitmain HK’s
jurisdictional ties to California. Moreover, the Court expressed an interest in resolving the
jurisdictional issue regarding Bitmain HK promptly (“We are going to get to the bottom of it,
and we are going to get to the bottom of it in the next 120 days.”). Id. at 5:4-6. The issue is ripe
for decision now and postponement of briefing is inappropriate.

No amendment to the Complaint will moot or alter the issue of whether Bitmain HK satisfies the
minimum contacts requirement for the purposes of jurisdiction. See Flintkote Co. v. Gen.
Accident Assurance Co. of Canada, No. C-04-01827 MHP, 2004 WL 1977220, at *4 (N.D. Cal.
Sept. 7, 2004) (“In determining issues of personal jurisdiction the court may look beyond
the four corners of the complaint.”). See also Peters v. Brennan, No. 05-C-0787, 2005 U.S. Dist.
LEXIS 51125, at *3 (E.D. Wis. Nov. 3, 2005) (“Because these defendants' objection to venue
applies to the original complaint as well as the amended complaint, the court will address the
merits of that issue at this time.”). Therefore, further delay and duplication of efforts by the
Parties and the Court are unwarranted. It would be a substantial waste of judicial resources
already invested in this case to start the process anew with not one but two Defendants.
The Court previously expressed concern that Bitmain HK was doing a “tap dance around the
company name” to avoid jurisdiction in California and stated, that “if I get the sense that
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anybody has played hide the ball with jurisdiction, there are going to be consequences ... and the
consequences will be significant.” 12/19/19 Hearing Tr. at 3:2-5; 5:2-3. Jurisdictional discovery
has confirmed that this is exactly how the Bitmain entities operate, and Plaintiff’s supplemental
briefing will show that.
Bitmain HK’s reliance on the Naranjo case is misplaced. See Bitmain HK Ltr at 2-3, citing
Naranjo v. Bank of Am. Nat’l Ass’n, 2015 WL 913031 at *4 (N.D. Cal. Feb. 27, 2015). First,
Naranjo was not decided at the close of jurisdictional discovery on a motion to dismiss pending
for nearly two years. The motion to amend in that case was filed only two weeks after the motion
to dismiss. Second, Naranjo concerned a motion to dismiss for failure to state a claim, where the
decision turned on the allegations in the complaint. In this case, the basis for jurisdiction includes
evidence outside the four corners of Plaintiff’s Complaint. See Flintkote Co.
Furthermore, no motion to amend is currently before the Court and Beijing Bitmain will not be
prejudiced by a determination on Bitmain HK’s motion to dismiss or supplemental briefing
thereon. Plaintiff intends to file a motion to amend the Complaint to add Bitmain HK’s wholly
owned subsidiary, Beijing Bitmain Technology Co., Ltd. (“Beijing Bitmain”) as an additional
defendant based in large part on testimony elicited at the September 2, 2021 deposition of
Bitmain’s HK’s witness. Plaintiff offered to allow Bitmain HK an opportunity to review the
Proposed Amended Complaint in a good faith effort to obtain its consent to the motion to
amend. 1 It is apparent now that Bitmain HK seeks to use the potential amendment as an excuse
for further delay.
Moreover, Bitmain HK’s letter appears to argue on behalf of Beijing Bitmain, a supposedly
separate and independent entity. Bitmain HK did not produce an employee of Bitmain HK for
the deposition, but instead produced a management level employee of Beijing Bitmain
authorized to speak on behalf of Bitmain HK. 2
Defendant has suggested that Plaintiff has not acted promptly in seeking amendment of the
Complaint. That contention is plainly false. As the Court is well aware, any delay in the
completion of jurisdictional discovery in this case has been caused by conditions well outside of
Plaintiff’s control, such as restrictions relating to the Coronavirus crisis and China’s prohibition
against taking depositions for U.S. cases in China. Plaintiff notified Bitmain HK of his intent to
file the motion less than two weeks after conducting the September 2, 2021 deposition, even
before Plaintiff received a copy of the deposition transcript.
Finally, while Bitmain HK advocates strongly in the letter for the interests of its subsidiary
Beijing Bitmain, as it has throughout the discovery process, Beijing Bitmain is not a party to this
action and its rights will not be affected by a decision on the long-pending motion to dismiss.


1
  Although Bitmain HK indicated to Plaintiff its preference for adjourning the briefing, it never
communicated to Plaintiff that it would seek Court intervention, and failed to meet and confer on
the proposed scheduling Order.
2
  Bitmain HK indicated in its letter to the Court that it has no intention of consenting to the
motion.
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Given Beijing Bitmain’s substantial activities in the State of California, it is unlikely that the
company will file a motion to dismiss for lack of personal jurisdiction.
In sum, Plaintiff respectfully asks the Court to deny Bitmain HK’s request to vacate the Order
for supplemental briefing.
                                               Sincerely,


                                               Manny Starr
                                               Attorney for Plaintiff
